Case 1:18-cv-20108-RNS Document 18 Entered on FLSD Docket 02/27/2018 Page 1 of 1



                           United States District Court
                                     for the
                           Southern District of Florida
  Martha Cecilia Rostran Pavon,        )
  Plaintiff,                           )
                                       )
  v.                                   ) Civil Action No. 18-20108-Civ-Scola
                                       )
  Yambo, Inc. and Armando Perez,       )
  Sr., Defendants.                     )

           Order Approving FLSA Settlement And Dismissing Action
        The parties to this FLSA action have asked the Court to approve of their
  settlement agreement and to dismiss the case. (Joint Mot., ECF No. 17.) Having
  reviewed the record, the relevant legal authorities, the settlement agreement,
  the Court finds the settlement agreement fair and reasonable.
        The Court grants the parties’ motion for approval of the settlement
  agreement (ECF No. 17), dismisses this action with prejudice, and directs the
  Clerk to close this case. The Court reserves jurisdiction to enforce the parties’
  settlement agreement. All pending motions are denied as moot.
        Done and ordered at Miami, Florida, on February 27, 2018.

                                             ___________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
